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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                               AT OWENSBORO
                      CRIMINAL ACTION NO. 4:21-CR-00010-GNS

 UNITED STATES OF AMERICA                                                    PLAINTIFF
                                               FILED
                                          JAMES J. VILT, JR. - CLERK
 vs.
                                                   APR - 9 2024
 JONATHAN BROWN (1)                                                        DEFENDANT
                                             U.S. DISTRICT COURT
                                            WEST'N. DIST. KENTUCKY

            ACKNOWLEDGEMENT OF WAIVER OF APPEAL RIGHTS

        I hereby acknowledge that as a part of my plea agreement with the United States, I
 waived the right to appeal the sentence I just received from the Court.




 April 9, 2024
 Date
